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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


UNITED STATES OF AMERICA                  )
                                          )
             vs.                          ) CAUSE NO. 3:08-CR-00012 RM
                                          )
JOE AVINA (01)                            )
REBECCA LYNN TORRES-RIOS(02)              )

                               OPINION and ORDER

      Joe Avina pleaded guilty in June 2008 to possession with intent to

distribute cocaine base, 21 U.S.C. § 841(a), and possession of a firearm in

furtherance of a drug trafficking crime, 18 U.S.C. § 924(c), and at that time also

agreed to “forfeit any and all interest . . . in the property that was seized at the

time of the search warrant, specifically including firearms, scales, narcotics, and

currency.” Plea Agree., ¶ 9(j). A preliminary order of forfeiture was entered on

August 11, 2008 affording any person claiming a legal interest in the property

proposed to be forfeited thirty days to petition the court to adjudicate the validity

of their interest.

      On September 11, the St. Joseph County Prosecutor’s Office Child Support

Division filed a Petition to Adjudicate Validity of Interest on behalf of Alisia Garza

and Yolanda Melendez seeking to recover child support arrearage judgments

entered against Mr. Avina in the St. Joseph Probate Court and assigned by Ms.

Garza and Ms. Melendez to the Prosecutor’s Office. In response, the government

has moved to dismiss the third-party petition for failure to state a claim upon

which relief may be granted. Because a forfeiture proceeding is essentially civil in
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nature, the court’s consideration of the government’s motion to dismiss is

governed by the standards set forth in Federal Rule of Civil Procedure 12(b),

making dismissal of the petitioner’s claim appropriate “only where ‘it is clear that

no relief could be granted under any set of facts that could be proved consistent

with the allegations.’” United States v. Grossman, 501 F.3d 846, 848 (7th Cir.

2007) (quoting Hishon v. King & Spalding, 467 U.S. 69, 73 (1984)).

       Criminal forfeiture actions are governed by 21 U.S.C. § 853 and Federal

Rule of Criminal Procedure 32.2. Following the entry of a preliminary order of

criminal forfeiture, any person claiming a legal interest in the subject property

may petition the court for a hearing to adjudicate the validity of the claim, 21

U.S.C. § 853(n)(2); FED. R. CIV. P. 32.2(c)(1), but where, as here, the property

sought by the petitioner consists only of a money judgment, no ancillary

proceeding is required. FED. R. CRIM. P. 32.2(c)(1). A challenge to a criminal

forfeiture requires the petitioner to demonstrate by a preponderance of the

evidence “a legal right, title, or interest in the property, and [that] such right, title,

or interest renders the order of forfeiture invalid in whole or in part because the

right, title, or interest was vested in the petitioner rather than the defendant at the

time of the commission of the acts which gave rise to the forfeiture of the

property.” 21 U.S.C. § 853(n)(6)(A).1




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         A petitioner may also prevail by establishing that she was a bona fide purchaser without
cause to believe the property was subject to forfeiture, see 21 U.S.C. § 853(n)(6)(B), but the
petitioner has made no such claim in these proceedings.

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      The sufficiency of the “legal interest” under 21 U.S.C. § 853(n) is determined

by looking to “the law of the jurisdiction that created the property right to

determine whether the claimant has a valid interest. . . . If the court determines

the claimant has an interest in the property under the laws of the jurisdiction that

created the property right, then . . . it must next look to federal law, i.e., to 21

U.S.C. § 853(n)(6), to determine if the claimant will prevail.” United States v.

Timley, 507 F.3d 1125, 1130 (8th Cir. 2007).

      The child support arrearage judgments obtained by the Prosecutor’s Office

qualify as valid legal interests under Indiana law, see IND. CODE §§ 31-16-16-2, -3,

but those judgments can’t create an interest for the Prosecutor’s Office in the

proceeds of Mr. Avina’s criminal conduct. “[T]he proceeds of an offense do not

exist before the offense is committed, and when they come into existence, the

government’s interest under the relation-back doctrine immediately vests.” United

States v. Timley, 507 F.3d 1125, 1130 (8th Cir. 2007); see also United States v.

Hooper, 229 F.3d 818, 821-822 (9th Cir. 2000) (“both civil and criminal forfeiture

statutes are consistent in denying relief to transferees of proceeds of the crime

causing forfeiture, unless those transferees are bona fide purchasers for value

without notice”); United States v. Brown, 509 F. Supp. 2d 1239, 1244 (M.D. Fla.

2007) (adopting the government’s argument that “because the interest of the

United States in proceeds of crime arises at the time at which the crime is

committed that generates the proceeds, logic and law dictate that, in a forfeiture

case involving proceeds, a petitioner cannot assert a preexisting interest”).

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      The interest of the Prosecutor’s Office in Mr. Avina’s drug sale proceeds

could not have arisen before the illegal acts giving rise to the forfeiture, and at the

time of the commission of those crimes, all proceeds of the crimes became the

property of the government. See United States v. Emerson, 128 F.3d 557, 567 (7th

Cir. 1997) (“[O]nce the government wins a judgment of forfeiture, the relation-back

doctrine provides that the right, title, and interest in the forfeited property vests

in the United States at the time the defendant committed the offense that gives

rise to the forfeiture.”). Accordingly, because the Prosecutor’s Office isn’t entitled

to the relief it seeks, the court GRANTS the government’s motion to dismiss

[docket # 72] the petition to adjudicate the validity of interest [docket # 70].

      SO ORDERED.

      ENTERED:        January 16, 2009



                                  /s/ Robert L. Miller, Jr.
                                 Chief Judge
                                 United States District Court


cc:   Ethan C. McKinney, DPA, St. Joseph County Prosecutor’s Office




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